Case 1:24-cr-10090-WGY Document 15-5 Filed 04/22/24 Page 1 of 1

Alexia Sheehan

Chesapeake, VA 23320
(P): 978-758-9129
lexi23sheehan@gmail.com

April 17, 2024
To The Honorable Judge Presiding Over This Case:

My name is Alexia Sheehan. | am the niece of Walter Norton. Uncle Walter has been my Aunt’s
significant other for over ten years; They have been friends since my aunt was a teenager.

I have known Uncle Walter my whole life, he has been a part of my family long before | was
born. | am currently twenty-five years old. Uncle Walter may not be my uncle by blood, but he’s
been there for me and my family for most of my life.

in the past ten years, my grandmother was diagnosed with Stage IV colon cancer. My
grandmother has chosen palliative care to see her through the rest of her time with us. And our
family is determined to spend whatever time she has left, bringing her joy and making her
comfortable. Uncle Walter has been by my grandmother’s side, doing everything he can to help
out and care for my grandmother. He and my grandmother have a very close relationship, Uncle
Walter lost his father as a teenager and then lost his mother unexpectedly to a brain aneurysm.
My grandmother has been a motherly figure: to him, She adores him.

Uncle Waiter has not only been there for my grandmother in the past ten years, he's also been
there for my little brother. In 2021, our father passed away, | was a freshman in college at the
time and was not able to stay home to support my mom and brother through this loss. Uncle
Waiter stepped up and watched over my little brother and made sure my little brother knew he
was loved and could lean on Uncle Walter. | am forever thankful, knowing my brother was never
alone. | am graduating with my Master's Degree on May 11, 2024. It’s almost impossible to
Imagine Uncle Walter not being there to support me and scream my name when | cross the
Stage, he has been there for so many other milestones in my life.

| hope the court will release him on bail so he can be with his family.
Sincerely,

Alexia Sheehan

EXHIBIT 5
